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 1                                UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3

 4   TERRANCE WALKER,                                     3:18-cv-00132-MMD-CBC

 5                        Plaintiff,

 6        v.                                              ORDER
 7   INTELLI-HEART SERVICES, INC.,

 8                      Defendants.

 9
10

11             Before the court is Plaintiff Terrance Walker’s (“Walker”) motion to quash
12   Defendant Intelli-Heart Services, Inc.’s (“Intelli-Heart”) subpoena duces tecum for James
13   Winters (“Winters”). (ECF No. 66). Walker objects to each category of documents
14   requested by Intelli-Heart’s subpoena based upon his assertions that the requests are
15   “overbroad” and that they “may include” certain confidential, privileged, and/or trade
16   secrets. (Id. at 2-7). Intelli-Heart opposed, (ECF No. 69), and Walker replied (ECF Nos.
17   72, 73). Having considered all the above, the motion is denied.
18   I.        BACKGROUND1
19             A.    Factual Background
20             Walker is the sole proprietor of Walker Development & Trading Group. (ECF No.
21   4 at 1, n. 1; ¶ 6). Walker provides professional consulting services related to federal
22   contracts, including finding relevant contract solicitations, reviewing the solicitations,
23   preparing bids, market research and the like. (Id., ¶ 7).     Intelli-Heart is a California
24   corporation that provides heart-monitoring services, including device-system sales,
25   support and training. (Id., ¶ 9; ECF No. 24, ¶ 5).
26
     1     The facts as stated in this order are adopted from the pleadings on file in this
27
     case. (ECF No. 4, Plaintiff’s First Amended Complaint; ECF No. 24, Defandant’s
28   Answer).
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 1          On September 30, 2014, Intelli-Heart entered into an agreement with James

 2   Winters. (ECF No. 24, ¶ 8). Pursuant to the terms of the agreement, Intelli-Heart and

 3   Winters agreed that Winters would act as a regional sales distributor for Intelli-Heart. In

 4   this position, Winters would market and support Intelli-Heart’s services through sales to

 5   various entities, including the Department of Veteran’s Affairs (“VA”)”. (Id.) Intelli-Heart

 6   agreed to pay Winters a commission of 10% from the sales he made with the VA on

 7   behalf of Intelli-Heart. (ECF No. 4, ¶ 31).

 8          Shortly after Winters entered into this agreement, Winters entered into a separate

 9   agreement with Walker. (ECF No. 4, ¶ 33; Ex. 1). Under the terms of this agreement,

10   Walker agreed to provide Winters with consulting services to assist Winters in marketing

11   medical supplies and services to the government. (Id., Ex. 1). According to the

12   agreement, Walker would assist Winters in identifying government solicitations, seeking

13   bids for medical services and supplies, explain issues related to the bidding process, and

14   and the like. (Id.) Winters agreed to pay Walker 50% of his compensation from the “end

15   supplies of medical services/supplies.” (Id.) Winters was required to pay Walker within

16   ten (10) days of receipt of his payment from the end medical supplier. (Id.) This contract

17   was to be in effect for five (5) years. (Id.)

18          Walker allegedly assisted Winters in securing various government contracts with

19   the VA related to the sale of Intelli-Heart’s medical supplies and services. However, only

20   four (4) of those contracts are identified in the complaint and at issue in this litigation.

21   These contracts are as follows: (1) VA69D17D0167; (2) VA26317D0109; (3)

22   VA24617C0183; and, (4) VA2498C10329. (ECF No. 4, ¶ 13).

23          According to Walker, Intelli-Heart was routinely late in paying Winters his

24   commission payments on the VA contracts he helped Winters secure. As a result,

25   Winters was late paying Walker. (ECF No. 4, ¶ 39-53). By November 2017, the

26   payments to Winters were approximately 120 days late. (Id.) Due to the late payments,

27   Walker began contacting the VA and representatives of Intelli-Heart demanding payment

28   and alleging that Intelli-Heart was engaged in various types of nefarious conduct and


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 1   fraud. (Id.) Walker also threatened Intelli-Heart with litigation if his demands were not

 2   met. (Id., Exs. 9-14).

 3          According to Intelli-Heart, Walker was unknown to them until late 2017 or early

 4   2018. (See Id., Ex. 6). Intelli-Heart denies it ever entered into any type of agreement with

 5   Walker and it was unaware of the agreement between Walker and Winters until Walker

 6   began communicating with Intelli-Heart representatives in late 2017 or early 2018. (Id.;

 7   See also ECF No. 24). Moreover, Intelli-Heart asserts that the agreement between

 8   Winters and Intelli-Heart prohibited Winters from entering into any type of agreement

 9   with a third party, such as the agreement with Walker, without their express written

10   consent, which they never provided. (ECF No. 24, ¶¶ 8, 10-12).

11          Ultimately, Intelli-Heart cancelled its contract with Winters. Walker claims that

12   Intelli-Heart improperly cancelled the contract between itself and Winters, which resulted

13   in a breach of the agreement between Walker and Winters.

14          B.     Procedural History

15          On May 30, 2018, Walker filed his First Amended Complaint (“FAC”) pro se

16   against Intelli-Heart. (ECF No. 4). The FAC asserts one cause of action against Intelli-

17   heart for intentional interference with his contractual relationship with Winters. (Id., ¶

18   116). He seeks a variety of damages, including compensatory and punitive damages.

19   (Id.) Intelli-Heart answered the FAC on September 20, 2018, denying the vast majority of

20   the allegations in the complaint and asserting 31 affirmative defenses. (ECF No. 24).

21          Discovery has proved contentious between the parties. As such, the court has

22   taken an active role in managing this case and discovery through monthly case

23   management conferences. In addition, to address issues concerning the confidentially of

24   certain documents and other proprietary information that may be requested during

25   discovery, the court entered a protective order. (ECF No. 55). Unfortunately, the

26   discovery disputes have persisted, including the dispute presently before the court.

27          Specifically, on January 23, 2019, Intelli-Heart served a subpoena duces tecum

28   for the deposition of non-party, Winters. (ECF No. 66-1). In the subpoena, Intelli-Heart


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 1   requested 14 categories of documents from Winters to bring to his deposition. (ECF No.

 2   66-1). The specific document requests are as follows:

 3   Request Request
     Number
 4
     1         All Documents, Electronically Stored Information, or Tangible Things
 5             concerning or relating to any business dealings you have had with Terrance
 6             Walker, during the period of January 1, 2014 through the current date,
               including but not limited to any dealings involving Intelli-Heart Services, Inc.
 7             and any project, contract, or subcontract, with the United States Veterans
               Administration;
 8
     2         All payment records showing that you made payment to Terrance Walker for
 9
               any business dealing you had with him, during the period of January 1, 2014
10             through the current date, including but not limited to any dealings involving
               Intelli-Heart Services, Inc. and any project, contract, or subcontract, with the
11             United States Veterans Administration;
12   3         All Documents, Electronically Stored Information, or Tangible Things
13             evidencing any business referrals or business leads Terrance Walker gave to
               you for any business dealing you had with him, during the period of January
14             1, 2014 through the current date, including on matters involving Intelli-Heart
               Services, Inc. and any project, contract, or subcontract, with the United States
15             Veterans Administration;
16   4         All phone records showing phone call communications held between you and
17             Terrance Walker, during the period of January 1, 2014 through the current
               date;
18
     5         All emails by and between, and including, you and Terrance Walker during
19             the period of January 1, 2014 through the current date regarding any matter
               involving Intelli-Heart Services, Inc.;
20
     6         All emails by and between, and including, you and Terrance Walker during
21
               the period of January 1, 2014 through the current date regarding any matter
22             involving the United States Veterans Administration;

23   7         All text messages by and between, and including, you and Terrance Walker
               during the period of January 1, 2014 through the current date regarding any
24             matter involving Intelli-Heart Services, Inc.;
25   8         All text messages by and between, and including, you and Terrance Walker
               during the period of January 1, 2014 through the current date regarding any
26
               matter involving the United States Veterans Administration;
27
     9         All Documents, Electronically Stored Information, or Tangible Things that you
28             gave to Terrance Walker concerning Intelli-Heart Services, Inc.;


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 1   10          All Documents, Electronically Stored Information, or Tangible Things that you
                 gave to Terrance Walker concerning the United States Veterans
 2               Administration;
 3   11          All Documents, Electronically Stored Information, or Tangible Things that
 4               Terrance Walker gave to you concerning Intelli-Heart Services, Inc.;

 5   12          All Documents, Electronically Stored Information, or Tangible Things that
                 Terrance Walker gave you concerning the United States Veterans
 6               Administration;
 7   13          All Documents, Electronically Stored Information, or Tangible Things
                 evidencing or comprising any communications between you and anyone else,
 8
                 made during the period of January 1, 2014 through the current date
 9               concerning Intelli-Heart Services, Inc.; and

10   14          All Documents, Electronically Stored Information, or Tangible Things
                 evidencing or comprising any communications between you and anyone else,
11               made during the period of January 1, 2014 through the current date,
                 concerning Terrance Walker.
12

13

14
            Walker has now moved to quash the subpoena. (ECF No. 66). Walker objects to
15
     each and every one of the requests on essentially the same basis. Specifically, Walker
16
     claims that each one of the document requests in the subpoena are: “overbroad as it
17
     may include confidential information to which Walker has a personal right and privilege in
18
     such as customers, clients, proposals, methods, techniques, trade secrets, proprietary
19
     information, and sales concerning Terrance Walker and other companies, as well as
20
     Walker's other clients.” (See ECF No. 66) (emphasis added). He further states that each
21
     category of requests are “not limited to Winter’s and Defendant’s dealings with the US
22
     Department of Veterans Affairs and [are] not germane to this case.” (Id.). As to
23
     Document Request Nos. 4 and 14, Walker further asserts that the information is
24
     “harassing and could potentially embarrassing information unrelated to this claim in this
25
     matter.” (Id.)
26
            Intelli-Heart argues Walker’s motion should be denied for a variety of reasons.
27
     First, as the subpoena was served on a third-party, Winters, Walker does not have
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 1   standing to object to the document requests contained in the subpoena. (ECF No. 69).

 2   However, even if Walker does have standing to object to the requests in the subpoena,

 3   his objections are improper and unreasonable. (Id.) Thus, the motion should be denied

 4   in its entirety.

 5           Walker filed a reply brief and asserted he did have standing to file his objections.

 6   (ECF No. 72). Walker raised a variety of other arguments in support of his initial

 7   objections. (Id.)

 8           Winters, however, has not filed any objection to the subpoena nor has he moved

 9   to quash or modify the subpoena in any way.

10   II.     LEGAL STANDARDS

11           “Unless otherwise limited by court order, the scope of discovery is as follows:

12   Parties may obtain discovery regarding any nonprivileged matter that is relevant to any

13   party’s claim or defense and proportional to the needs of the case, considering the

14   importance of the issues at stake in the action, the amount in controversy, the parties

15   relative access to relevant information, the parties’ resources, the importance of the

16   discovery in resolving the issues, and whether the burden or expense of the proposed

17   discovery outweighs its likely benefits.” Fed. R. Civ. P. 26(b)(1).

18           “A party or any other person from whom discovery is sought may move for a

19   protective order in the court where the action is pending.” Fed. R. Civ. P. 26(c)(1). “The

20   court may, for good cause, issue an order to protect a party or person from annoyance,

21   embarrassment, oppression, or undue burden or expense.” Fed. R. Civ. P. 26(c)(1).

22           “On timely motion, the court for the district where compliance is required must

23   quash or modify a subpoena that: (i) fails to allow a reasonable time to comply; (ii)

24   requires a person to comply beyond the geographical limits specified in Rule 45(c); (iii)

25   requires disclosure of privileged or other protected matter, if no exception or waiver

26   applies; or (iv) subjects a person to undue burden.” Fed. R. Civ. P. 45(d)(3)(A).

27   There is a general rule that only the party to which a subpoena is directed has standing

28   to challenge that subpoena. See, e.g., Paws Up Ranch, LLC v. Green, 2013 WL


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 1   6184940, *2 (D.Nev. Nov. 22, 2013). However, there appears to be a split of authority in

 2   this district as to whether an exception exists to this rule when the movant has a

 3   personal right or privilege in the information sought. See id.; see also Wells Fargo Bank,

 4   N.A. v. ANC Vista I, LLC, 2015 WL 557069, *2 n.6 (D.Nev. Feb. 11, 2015); Wells Fargo

 5   Bank, N.A. v. Iny, 2014 U.S. Dist. Lexis 62381, *3–4 (D.Nev. May 6, 2014). Some judges

 6   in this District have interpreted the plain language of Rule 45 as dictating that “only the

 7   party subject to the subpoena may bring a motion to quash.” In re: Rhodes Cos., 475

 8   B.R. 733, 740–41 (D.Nev.2012) (expressly declining to adopt a “personal right or

 9   privilege” standing rule) (Pro, J.); see also Salem Vegas, L.P. v. Guanci, 2013 WL

10   5493126, *2–3 (D.Nev. Sept. 30, 2013) (Hoffman, J.).

11          On the other hand, several judges have recognized an exception to the general

12   standing rule when the movant has a personal right or privilege in the subpoenaed

13   material. See, e.g., In re MGM Mirage Securities Litig., 2014 WL 6675732, *9 (D.Nev.

14   Nov. 25, 2014) (Ferenbach, J.); Painters Joint Committee v. J.L. Wallco, Inc., 2011 WL

15   4573349, *4 (D.Nev. Sept. 29, 2011) (Leen, J.), amended on other grounds, 2011 WL

16   5854714 (D.Nev. Nov. 21, 2011); Copper Sands Home Owners Ass'n, Inc. v. Copper

17   Sands Realty, LLC, 2011 WL 112146, *2 (D.Nev. Jan. 13, 2011) (Leavitt, J.); 1st Tech.,

18   LLC v. Rational Enterps. Ltd., 2007 WL 5596692, *3 (D.Nev. Nov. 13, 2007) (Foley, J.);

19   Diamond State Ins. Co. v. Rebel Oil Co., 157 F.R.D. 691, 695 (D.Nev.1994) (Johnston,

20   J.). For purposes of this motion, the court will assume that a party does have standing to

21   move to quash a subpoena on a third party when the movant has a personal right or

22   privilege to the information sought.

23          However, “[a] party’s objection that the subpoena issued to the non-party seeks

24   irrelevant information or imposes an undue burden on the non-party are not grounds on

25   which a party has standing to move to quash a subpoenas issued to a non-party,

26   especially where the non-party, itself, has not objected.” G.K. Las Vegas Ltd.

27   Partnership, 2007 WL 119148 at* 4; see also Moon v. SCP Pool Corp., 232 F.R.D. 633,

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 1   636-37 (C.D. Cal. 2005); Morrison v. Quest Diagnostics Inc., No. 214CV01207RFBPAL,

 2   2016 WL 362346, at *4 (D. Nev. Jan. 27, 2016)

 3   III.   DISCUSSION

 4          A.     Walker Lacks Standing to Object Based On Claims the Requests are
                   “Overbroad” or Request Information “Not Germane” to the Case
 5
            Walker’s objections to each and every document request in the subpoena are the
 6
     same and the basic thrust of those objections are that the requests are “overbroad.”
 7
     (ECF No. 66). Specifically, he asserts that each of the document requests are
 8
     “overbroad as [they] may include confidential information to which Walker has a personal
 9
     right and privilege in such as customers, clients, proposals, methods, techniques, trade
10
     secrets, proprietary information, and sales concerning Terrance Walker and other
11
     companies, as well as Walker's other clients.” (ECF No. 66). In addition, Walker also
12
     claims that the requests request information that is “not germane” to this case. (Id.)
13
            To the extent these objections are specific to claims that the documents requests
14
     are either overbroad or request irrelevant information, Walker does not have standing to
15
     challenge the subpoena requests. These objections have nothing to do with any
16
     personal right or privilege that Walker may have in the information requested. Moreover,
17
     Winters has not objected to the subpoena nor did he make any attempt to quash or
18
     modify the subpoena after it was issued. Therefore, to the extent that Walker’s
19
     objections to the document requests in the subpoena are based on claims of
20
     overbreadth and/or relevance, these objections are overruled.
21
            B.     Any Objections Based On Alleged Disclosure of Trade Secrets Or
22
                   Proprietary Business Information Are Protected By the Protective
23                 Order

24          Although the thrust of Walker’s objections are focused upon claims that the
25   requests are “overbroad,” his objections go one step further. Specifically, he asserts that
26   the requests are “overbroad” because they may request Winters to provide documents
27   that he maintains a personal right and privilege in, i.e., trade secrets and/or proprietary
28   business information related to his business, clients, techniques and the like. (ECF No.


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 1   66). Although Walker does not have standing to object to the requests based on the

 2   assertions of “overbreadth,” Walker would have a personal right and privilege in

 3   protecting trade secret information or other proprietary business information.

 4          Courts may quash or modify a subpoena if it requires disclosing a trade secret or

 5   other confidential research, development, or commercial information. Fed. R. Civ. P.

 6   45(d)(3)(B)(i). In analyzing an objection made under Rule 45(d)(3)(B)(i), the Court first

 7   must determine if the requested information is protected as a trade secret or confidential

 8   commercial information. See e.g., Gonzales v. Google, Inc., 234 F.R.D. 674, 684 (N.D.

 9   Cal. 2006). The party resisting discovery “must make a strong showing that it has

10   historically sought to maintain the confidentiality of this information.” Id. (quoting Compaq

11   Computer Corp. v. Packard Bell Electronics, Inc., 163 F.R.D. 329, 338 (N.D. Cal. 1995)).

12   Allegations of harm or prejudice must be supported with specific examples or articulated

13   reasoning. AFMS LLC v. United Parcel Serv. Co., 2012 WL 3112000, * 3 (S.D. Cal. July

14   30, 2012) (“broad allegations of harm” are insufficient).

15          Where a subpoenaed party meets that initial burden of showing the information is

16   a trade secret or confidential commercial information, “the burden shifts to the requesting

17   party to show a ‘substantial need for the testimony or material that cannot be otherwise

18   met without the undue hardship.’” Gonzales, 234 F.R.D. at 684. Courts have discussed

19   “substantial need” as requiring a showing that “the requested discovery is relevant and

20   essential to a judicial determination of [the party’s] case.” Id. at 685 (citing Upjohn Co. v.

21   Hygieia Biological Labs., 151 F.R.D. 355, 358 (E.D. Cal. 1993)). The Court must

22   “balance the need for the trade secrets [or confidential information] against the claim of

23   injury resulting from disclosure.” Id. (citing Heat & Control, Inc. v. Hester Indus., Inc., 785

24   F.2d 1017, 1025 (Fed. Cir. 1986)). “The determination of substantial need is particularly

25   important in the context of enforcing a subpoena when discovery of a trade secret or

26   confidential commercial information is sought from non-parties.” Id. (citing Mattel, Inc. v.

27   Walking Mountain Prods., 353 F.3d 792, 814 (9th Cir. 2003)).

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 1           Where the requesting party establishes a substantial need, courts will look to

 2    whether procedures exist to mitigate any burden or prejudice to the nonparty. See Rule

 3    45(c)(3)(C) (providing that the Court may order production “only upon specified

 4    conditions”). In particular, courts often order that the information be produced subject to

 5    a protective order. See, e.g., Gonzales, 234 F.R.D. at 686. Indeed, courts have

 6    determined that “[a] protective order allowing ‘confidential’ or ‘highly confidential’

 7    designations is sufficient to protect a nonparty’s trade secrets.” AFMS, 2012 WL

 8    3112000, at *7 (citing In re McKesson Governmental Entities Average Price Litig., 264

 9    F.R.D. 595, 603 (N.D. Cal. 2009)). “The relatively remote potential for inadvertent

10    disclosure of confidential documents does not justify the withholding of discovery

11    altogether.” Id.

12           Here, the court finds that Walker has not made the required showing that the

13    information sought would, in fact, involve the disclosure of any type of trade secrets or

14    proprietary information. Walker’s objections merely state that the requests, “may” require

15    the inclusion of such information. However, there has been no showing that the requests

16    will require the disclosure of such information. However, even if the court were to

17    assume that Walker had made a showing that the information requested would require

18    the disclosure of his trade secrets or other proprietary information, the court finds that

19    the information Intelli-Heart is requesting – in each of the requests – is relevant, proper

20    and necessary for Intelli-Heart to defend against Walker’s claims in this case. Finally, to

21    the extent that any disclosure of such materials occurs or would be required, the

22    protective order that is already in place in this case would protect Walker’s trade secrets

23    or any type of proprietary information from being disclosed improperly in this case. For

24    all of these reasons, Walker’s motion to quash is denied.

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 1    IV.   CONCLUSION

 2           IT IS THEREFORE ORDERED that Plaintiff’s motion to quash duces tecum

 3    subpoena to James Winters (ECF No. 66) is DENIED in its entirety.

 4          DATE: March 4, 2019.

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                                             ______________________________________
 6                                           UNITED STATES MAGISTRATE JUDGE
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